  Case: 1:18-cv-03424 Document #: 85-1 Filed: 02/05/19 Page 1 of 1 PageID #:2147



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINIOS,
                                 EASTERN DIVISION

Protect Our Parks, Inc.; Charlotte Adelman;         )
Maria Valencia and Jeremiah Jurevis;                )      No. 18-cv-03424
              Plaintiffs,                           )
v.                                                  )      Honorable John Robert Blakey
                                                    )
Chicago Park District and City of Chicago,          )      Jury Demanded
             Defendants.                            )

                                     NOTICE OF FILING


        PLEASE BE ADVISED that we have on February 5, 2019, caused to be with the Clerk
of the United States District Court for The Northern District of Illinois Plaintiff’s Submission
Pursuant to this Court’s January 22, 2019 and January 31, 2019 Orders, a copy of which is
attached.



                                                                   /Mark D. Roth/



                                    PROOF OF SERVICE

      I, Mark D. Roth, an attorney, certify that I served this notice and the Plaintiff’s
Submission Pursuant to this Court’s January 22, 2019 and January 31, 2019 Orders, via
ECF notification to parties of record on February 5, 2019.


                                                                   /Mark D. Roth/
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